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       /s/ Melbalynn Fisher                                    08/13/2019


       Melbalynn Fisher, Attorney for Creditor
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